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              Declaration of Professor Ali Arab (Ph. D.)



              IN THE UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF COLUMBIA

                   Civil Action No.: 1:19-cv-02070-JDB




                       Associate Professor
              Department of Mathematics and Statistics
                     Georgetown University




Human Rights Conditions in the Islamic Republic of Iran




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    I.    Introduction

I have been requested by Mehrangiz Kar and Azadeh Pourzand and their counsel to provide my
declaration on the conditions of human rights in Iran as it pertains to their case versus the Islamic
Republic of Iran (IRI). Specifically, I have been asked to provide my declaration on the situation
detainees face in prisons in Iran, IRI’s use of torture and forced confessions, and the violations of
legal standards and due processes of law by the IRI’s judiciary system.


In preparation of this report, I have carefully reviewed the Statement of Facts which was
provided to me by the Plaintiff’s counsel. I have also reviewed and researched several additional
documents related to the case which I have listed in Appendix B under References. These
include reports from human rights organizations including Amnesty International and Human
Rights Watch among others, and scholarly work related to the topic, as well as media reports.


    II. Educational Background and Professional Qualifications
I am a full-time faculty member of the Department of Mathematics and Statistics of Georgetown
University as an Associate Professor (with Tenure) of Statistics. I have served in the current
position since 2007 (2007-2014 as Assistant Professor, and since 2014 as Associate Professor). I
completed my undergraduate studies in Iran in 1999 and I graduated with a Bachelor of Science
degree in Applied Mathematics from the Iran University of Science and Technology1. After
moving to the United States, I completed a Master of Science degree in Applied Mathematics
and Statistics at Southern Illinois University Edwardsville2. I graduated with a Ph.D. degree in
Statistics from the University of Missouri-Columbia3 in August 2007. My area of expertise
includes applied statistics, statistical modeling with focus on environmental, ecological, and
epidemiological applications, climate- and conflict-driven forced migration, as well as topics
related to science and human rights.




1
  http://www.iust.ac.ir/en
2
  https://www.siue.edu/
3
  https://missouri.edu/


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Since 2010, I have actively collaborated with the American Association for the Advancement of
Science (AAAS) Science and Human Rights Coalition with focus on topics at the intersection of
science and human rights including campaigning for human rights cases related to students,
scientists and scholars around the world with focus on Iran cases, role of science and scientists in
human rights cases, and human rights education. I have co-Chaired a committee on membership
and outreach with the mission to promote topics of science and human rights and empower
students and scholars to engage in conversations around human rights. Since 2014, I have served
as one of the two representatives of the American Statistical Association (ASA) to the AAAS
Science and Human Rights Coalition4. In this capacity, I sit on the Council for the AAAS
Science and Human Rights Coalition and liaise between the two organizations on related topics.


I’m an active member of Amnesty International. I’m a member of the Amnesty International
local Group 82 in Rockville, Maryland. Since 2016, I have served as a member of the Board of
Directors of Amnesty International USA5. Currently, I serve as the Deputy Treasurer for the
Board. Given the complex structure of Amnesty International as an international movement with
multiple organizational levels (regional offices and country sections, volunteer groups including
student groups), Board members participate in strategic planning for human rights campaigns as
well as monitoring and planning the growth of the organization globally and domestically, and
oversee financial, operational and strategic issues.


I’m a founding member and a member of the Board of Directors of Hostage Aid Worldwide6, an
organization formed by several former hostages with the mission to assist
hostage victims and their families by providing insights on their cases, coordination with
governments and the UN bodies, and a strategy to disrupt the hostage business model and the
emerging threat of hostage diplomacy through combining global advocacy with empirical data
driven methods and extensive research.




4
  https://www.aaas.org/programs/science-and-human-rights-coalition
5
  https://www.amnestyusa.org/about-us/who-we-are/board-of-directors/ali-arab/
6
  https://hostageaid.org/our-team.html


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I also serve on the Board of Directors of Journalism for Change, a media organization with the
mission to promote citizen journalism through a multilingual online platform IranWire, empower
citizen journalists, and to advocate for journalism freedom (including the “Journalism is Not a
Crime” campaign) and religious freedoms. I should note that one of the Plaintiffs on the current
case, Mehrangiz Kar, serves with me on the Board of Directors of Journalism for Change.


At Georgetown University, I teach undergraduate and graduate level courses on mathematical
statistics, applied statistical methods, regression methods and generalized linear models, time
series, business statistics, and business forecasting. I have also mentored several undergraduate
and graduate (Masters and Ph.D.) students in conducting research on applied statistical methods
in different fields. Currently, I’m co-advising two Ph.D. students as well as several Masters and
undergraduate senior students.


I am a member of the American Statistical Association (ASA) and the Institute of Mathematical
Statistics (IMS). I am also a member of the Washington Statistical Society (WSS), which is a
local organization of statistics professionals in the metropolitan Washington DC area.


Over the last 16 years, I have served as statistical consultant on several projects in a wide range
of topics and disciplines including environmental research (U.S. Geological Survey), water
resources research (District of Columbia Water Resources Research Institute), transplant surgery
(Georgetown University Medical Center), and urban ecology (Casey Trees Organization), spatial
analysis and advanced statistical modeling for a long term environmental monitoring program
PWSSC (Prince William Sound Science Center), DCAA (Defense Contract Audit Agency),
among others.


In 2012 -2013, I served as an expert witness for the United States Department of Justice (United
States Court of Federal Claims, Nos. 09-844C & No. 741C) and provided expert testimony in the
United States Court of Federal Claims (Judge Charles F. Lettow). I was found qualified by Judge
Lettow as an expert on statistics and statistical modeling and provided expert testimony at trial.
Since 2019, I have served as a statistical consultant and expert witness for the Defense Contract
Audit Agency (DCAA) of Department of Defense. In this capacity, I oversee the accuracy of the



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Agency’s statistical methodology in accordance with government policies and accounting
accepted principles, and consult with the legal team on potential and ongoing cases.


As it relates to this case, I have advised several organizations on conducting surveys and analysis
of data related to human rights issues. These experiences include an advisory role for conducting
international surveys on science and human rights. I have also advised on using quantitative
methods for analyzing human rights cases as well as evaluating the impact of advocacy and
education programs.


As someone with academic, activism and organizational expertise on human rights issues, I have
been interviewed by the media, I have written opinion articles, I have also moderated events, and
served in panels and discussions related to thematic issues as well as advocacy and campaigning
on individual cases. For a complete list of related activities, please see a copy of my curriculum
vitae (CV).


I have authored (and co-authored) several articles in peer-reviewed scientific journals, as well as,
several technical reports. I’m also currently working on a book on modeling complex count data
(contracted by CRC Press, Taylor & Francis Group) which includes discussions on analysis of
human rights data including data on cases of torture, mass executions, arbitrary detentions, and
forced migration, among others.


For a detailed list of publications please find a copy of my CV attached to this document (See
Appendix A).


  III. Overview of the Islamic Republic of Iran

Iran is a country in the Middle East, bordering the Gulf of Oman, the Persian Gulf, and the
Caspian Sea, between Iraq and Pakistan. Iran shares borders with seven countries (Afghanistan,
Armenia, Azerbaijan, Iraq, Pakistan, Turkey, and Turkmenistan). With an area slightly smaller
than Alaska, it has a diverse climate (arid or semiarid, subtropical along Caspian coast), and a
plethora of natural resources (petroleum, natural gas, coal, chromium, copper, iron ore, lead,
manganese, zinc, sulfur). Iran with a population of over 85 million is the 17th most populated


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country in the world and is home to several ethnic groups (Persian, Azeri, Kurd, Lur, Baloch,
Arab, Turkmen and Turkic tribes), languages (Persian Farsi (official), Azeri and other Turkic
dialects, Kurdish, Gilaki and Mazandarani, Luri, Balochi, Arabic), and religions (Shia and Sunni
Islam, Christianity, Jewism, and Zoroastrianism.7


    a. Political Structure
        Currently, Iran’s political system is an Islamic republic, a quasi-democratic political
        system based on a combination of elements of theocracy and presidential democracy.


        The Islamic Republic of Iran (IRI) was established in April of 1979 following the 1979
        Revolution (later known as the Islamic Revolution) which resulted in the overthrow of
        Mohammad Reza Shah and termination of the Pahlavi Dynasty. The Islamic Republic was
        the form of government that was decided through a referendum held on March 30 and 31,
        19798. The referendum was claimed to have a very high turnout (approximately 98% of
        the eligible population) with a very high support for the Islamic Republic (more than 99%
        voted “Yes” to changing the political system to an Islamic Republic versus only less than
        1% “No” votes). Despite some concerns 9 raised regarding possible irregularities and
        systematic exclusion of certain subsets of the population (in particular, several ethnic
        minority groups including Kurds and Turkmans either did not have the chance to
        participate due to ongoing armed conflicts in their regions or boycotted the referendum),
        the results of the referendum were considered to be legitimate by international observers
        and majority of political groups. Consequently, the 1906 Constitution was declared invalid,
        and a new constitution codified according to Shia Islam rules and guidelines was created
        and ratified through a second referendum in December 1979 (reported participation rate
        was over 75% of the eligible population out of which 99.5% voted “Yes” to the proposed
        constitution10).

7
  CIA The World Factbook: Iran, Last updated: March 02, 2021
8
  The New York Times: “Khomeini Declares Victory in Vote For a ‘Government of God’ in Iran” by Gregory
Jaynes. Published on April 2, 1979.
9
   Washington Post: "Khomeini Decrees Islamic Republic After Vote in Iran". By Ronald Koven. Published on
April 2, 1979.
10
   Nohlen, D., Grotz, F., and C. Hartmann (2001). Elections in Asia and the Pacific: A Data Handbook: Volume I:
Middle East, Central Asia, and South Asia. Oxford University Press.


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           The IRI while entailing elements from a presidential democracy effectively operates as a
           theocracy, mandated by the principles of Twelver Shia Islam and enforced by an extensive
           military, para-military, and security apparatus.


           Under the Constitution of the Islamic Republic of Iran11, the Supreme Leader is the head
           of state and the highest spiritual and political authority. The Supreme Leader is a Faqih
           (Jurisconsult) and as the Vali-e Faqih (Guardian Islamic Jurist) in accordance with the
           Shia Islamic principle of Velayat-e Faqih (Guardianship of the Islamic Jurist) provides
           guardianship over the nation and can enshrine new laws. Articles 4 and 5 of the
           Constitution emphasize the importance of the Shia clergy in Iran’s system of governance.
           Article 107 describes the role of the Leadership Khobregan (Assembly of Experts) the
           only government body in charge of overseeing, choosing and dismissing the Supreme
           Leader. Since its inception in 1979, the Islamic Republic of Iran has had two Supreme
           Leaders: Ruhollah Khomeini (1979-1989) and Ali Khamenei (1989-Present).


           The democratic components of the IRI’s political system including the elected President,
           executive and legislative branch officials are strongly undermined by the unelected
           institutions including the Supreme Leader and the Guardian Council. For instance, the
           Guardian Council which comprises senior Shia clerics, oversees the approval/disapproval
           of the qualification of candidates for the Parliament or has authority to veto the acts of the
           Parliament based on misalignment with the Islamic law.


            Another important factor in the IRI political system is the role of intelligence apparatus
           which has direct relevance to the current case and similar cases. In the following section,
           I provide a brief overview of Iran’s intelligence establishment and its history of arbitrary
           detentions and extrajudicial killings of dissidents.


           Iran’s Ministry of Intelligence and Security (MOIS), or Vezarat-e Ettela'at Jomhuri-ye
           Eslami-ye Iran (VAJA) in Farsi, is the primary government entity in charge of the

11
     https://en.parliran.ir/eng/en/Constitution


                                                                                                          8
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        intelligence service. However, the intelligence establishment includes several parallel
        agencies including the Intelligence Organization of the Islamic Revolutionary Guard
        Corps which is an intelligence agency within the Islamic Revolutionary Guard
        Corps (IRGC). In 2014, Fars News a news agency closely associated with Iran’s
        intelligence community announced that the IRI’s intelligence establishment includes 16
        intelligence-security agencies that are coordinated through the Council for Intelligence
        Coordination12.


        There is actually very little public information available about the IRI’s intelligence
        establishment, as it is a highly secretive community. In December of 2012, Library of
        Congress published a report on the profile of the MOIS13. This report provides an in-
        depth profile of the MOIS including its organizational structure, membership and
        recruitment, its methods of operation and tactics, and its intelligence capabilities.
        However, the report identifies the gaps in resources:


                 Because MOIS does not have an official Web site, collecting data about its
                 organizational structure, its personnel and their duties, and how it operates is
                 difficult. There is no information about some of the current high officials and
                 directors of the various MOIS directorates in opensource materials, and it is
                 not clear who issues directions to MOIS or how those directions are carried
                 out.


                 Another important question about MOIS that is not well answered in open-
                 source material is the ministry’s relationship with the IRGC and how they
                 interact. Observers speculate that MOIS and the IRGC have disagreements. If
                 this allegation is true, available information does not clearly indicate the
                 source or the degree of the disagreement.14


12
   Rooz Online (via Payvand), Iran Has 16 Intelligence Agencies, by Arash Bahmani, October 30, 2014 (link to Fars
News story)
13
   “Iran’s Ministry of Intelligence and Security: A Profile,” Library of Congress under an Interagency Agreement
with the Combating Terrorism Technical Support Office’s Irregular War- fare Support Program, December 2012
14
   Ibid. Page 45.


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           In the late 1990s, the role of members of the intelligence community in extrajudicial
           killings of dissidents, intellectuals and political activists was revealed by the media and
           became a major reputational issue for the IRI and its intelligence community15. These
           killings are often known as the Chain Murders and to this date, there are lots of
           unknowns about the extent of involvement of regime officials and the exact number of
           cases. Numbers as high as 80 individuals are believed to have been victims to these
           killings between 1988-1999. Shirin Ebadi, a prominent lawyer, human rights activist, and
           Nobel Peace Laureate, lists the methods used in these killings according to a variety of
           means such as car crashes, stabbings, shootings in staged robberies, and injections with
           potassium to simulate heart attack16.


       b. Judiciary and Legal System

           Iran’s current legal system is based on Shia Islamic law and consequently, clerics are
           highly abundant in the judiciary branch of the government. Public courts deal with civil
           and criminal offenses. Special clerical courts deal with offenses of clerics. Revolutionary
           courts try other categories of offenses, such as crimes against national security or
           offenses that threaten the Islamic republic. The cases of prominent figures including
           political dissidents, human rights activists, and cultural personalities often end up in the
           Revolutionary courts due to sensitivities around these cases.


           Since the early days of the 1979 Revolution and especially with the start of the Iran-Iraq
           War, the judiciary system has been heavily securitized under the guise of the “national
           security imperative”, in which non-security issues are approached through a security lens.
           The United States Institute of Peace’s “The Iran Primer” succinctly describes the role of
           the judiciary system and the Revolutionary courts in suppressing dissent:




15
     BBC, Iran’s Chain Murders: A wave of killings that shook a nation, by Sarah Fowler. December 2, 2018.
16
     Ebadi, Shirin, Iran Awakening, Random House New York, 2006, p. 131-2


                                                                                                             10
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                    “The judiciary plays the paramount role in suppressing dissent and
                    prosecuting dissidents, often on charges of “acting against national security.”
                    Working closely with intelligence services, the judiciary has for decades tried
                    a wide range of opponents and critics, from students and street protestors to
                    civil society activists and political reformers.


                    Trials are often criticized for lack of evidence and not conforming to
                    fundamental standards of due process. Detainees can be held for long periods
                    in solitary confinement. Many are denied access to their lawyers. Verdicts are
                    often based on “confessions” extracted during interrogations. And many are
                    sentenced to lengthy prison terms.


                    Iran’s Revolutionary Courts are primarily in charge of prosecutions involving
                    acts against national security, as well as drug smuggling and espionage. After
                    the disputed 2009 presidential election, the judiciary emerged as a key
                    instrument to intimidate protestors and remove many leading activists and
                    opinion makers, steps that were both critical to the regime’s survival.


                    The Revolutionary Courts conducted a series of show-trials that included
                    televised confessions. Among the more than 250 defendants were protestors,
                    prominent journalists, human rights defenders and reformist politicians. They
                    included former Vice President Mohammad Abtahi and former Member of
                    Parliament Mohsen Mirdamadi, who headed the Islamic Participation Front,
                    the largest reform party in Iran. The sentences ranged from floggings to
                    prison terms of up to 10 years and executions. Much of the evidence was
                    produced in “confessions” by defendants. Since the majority of defendants
                    were held in solitary confinement before the trial and had no access to their
                    lawyers, many confessions appeared to have been coerced.”17




17
     USIP, The Iran Primer, The Islamic Judiciary, by Hadi Ghaemi, October 6, 2010.


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     IV. Human Rights Conditions in Iran

Iran is a signatory to the Universal Declaration of Human Rights. In 1975, Iran ratified the
International Covenant on Civil and Political Rights and therefore it has committed to the
promotion and protection of guarantees including freedom of expression, assembly, association
and religion, all of which are recognized as integral to the promotion and protection of
democratic ideals. However, under the IRI, Iran’s human rights conditions have been
substantially problematic. The range of human rights issues includes many areas of rights
including the right to life, the right to freedom from torture, the right to a free trial, minority
rights, among others.


The atrocious condition of human rights in Iran under the Islamic Republic regime has
necessitated the U.N. to appoint several Special Rapporteurs to Iran over the past four decades.
The Islamic Republic does not cooperate with the Special Rapporteurs and categorically rejects
this function. For example, the current U.N. Special Rapporteur to Iran, Mr. Rehman has not
been allowed to visit Iran. Since 1984, and among the six U.N. Special Rapporteurs to Iran only
Maurice Copithorne and Galindo Pohl were allowed to visit Iran. Galindo Pohl was allowed to
visit Iran three times between 1990 and 1992 (and after his last visit he was barred from visiting
Iran due to his critical reports18 on the conditions of human rights in Iran). Maurice Copithorne19
visited Iran only once in the beginning of his term in 1996 and was never allowed to go back to
Iran after he published his first report which the regime was not happy to read20.


In 2011, due to increasing and concerning trends in human rights violations in Iran, in particular,
the massive human rights violations and crackdown of protestors in the aftermath of the disputed
election of 2009, the UN Human Rights Council appointed a special rapporteur for Iran. Human
Rights Watch in its World Report 2012 on Iran describes the international reactions to the human
rights situation in Iran as follows:



18
   Galindo Pohl’s reports may be accessed through the Impact Iran website: http://impactiran.org/mr-reynaldo-
galindo-pohl/
19
   Copithorne’s report may be accessed through the Impact Iran website: http://impactiran.org/mr-maurice-danby-
copithorne/
20
   Radio Free Europe Radio Liberty, interview with Copithorne, March 25, 2011


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           In March the UN Human Rights Council appointed a special rapporteur for Iran. In
           July 2011 the Iranian government announced it would not cooperate with or allow
           the special rapporteur access. On September 23 the special rapporteur submitted his
           first report on Iran in which he highlighted a “pattern of systematic violations of …
           human rights” and repeated his call on the government to allow him to visit the
           country.
           Iran continued to refuse access to UN special procedures, despite their longstanding
           and repeated requests for invitations to visit. No special rapporteurs have visited the
           country since 2005.
           On September 15 the UN secretary-general submitted a report to the UN General
           Assembly in which he said he was “deeply troubled by reports of increased numbers
           of executions, amputations, arbitrary arrest and detention, unfair trials, torture and
           ill-treatment” and bemoaned “the crackdown on human rights activists, lawyers,
           journalists and opposition activists.” On November 3 the UN Human Rights
           Committee issued its concluding observations following its review of Iran’s
           implementation of the International Covenant on Civil and Political Rights. The
           committee concluded “that the status of international human rights treaties in
           domestic law is not specified in the legal system, which hinders the full
           implementation of the rights contained in the Covenant.”
           On April 14 the European Union imposed asset freezes and travel bans on 32 Iranian
           officials, including members of Iran’s judiciary, who have committed rights abuses.
           In June the United States extended individuals sanctions against additional members
           of the Revolutionary Guards, the Basij militia, and Iran’s security forces involved in
           rights violations. Later that month the US sanctioned companies with ties to the
           Revolutionary Guards and military.21


In his most recent report published on January 11, 2021, Mr. Javaid Rahman, the current U.N.
Special Rapporteur on the situation of human rights in the Islamic Republic of Iran raises



21
     Human Rights Watch World Report 2012: Iran, Events of 2011.


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ongoing concerns regarding death penalty, unfair trials, arbitrary detentions, systematic torture
and forced confessions:


         The Special Rapporteur remains deeply concerned at the high number of death
         sentences and executions in the Islamic Republic of Iran, including for acts that do
         not amount to the “most serious crimes” and following unfair trials. The Human
         Rights Committee has consistently interpreted the most serious crimes as those
         involving intentional killing. Between 1 January and 1 December 2020, at least 233
         people were reportedly executed; 18 of the executions were for drug-related charges
         and 11 for moharebeh (taking up arms to take lives or property or to create fear in
         the public) or efsad-e fel-arz (“corruption on Earth”). Executions carried out in
         violation of international human rights law after an unfair trial constitute arbitrary
         deprivation of life.22


Furthermore, the Special Rapporteur raises concerns regarding the systematic issues and
violations of the right to a fair trial, torture and forced confessions:


         The Special Rapporteur is alarmed by reports of secret executions in connection with
         protests, with death sentences issued in these cases following unfair trials and after
         the systematic use of torture to extract forced confessions. On 12 September 2020,
         Navid Afkari was secretly executed without prior notice in contravention of Iranian
         law. Mr. Afkari had participated in the August 2018 protests in Shiraz, and was
         subsequently arrested, convicted and given two death sentences for an alleged
         murder and for moharabeh. He denied the accusations and stated he had been
         tortured to confess. The confession was later used against him in court, with the judge
         failing to investigate his torture claim. The Government rejected the torture
         allegations. On 5 August 2020, Mostafa Salehi was secretly executed for an alleged
         murder, following his participation in protests that took place in December 2017 and
         January 2018. Despite denying the charges, he was reportedly held for over a year in


22
  Situation of human rights in the Islamic Republic of Iran: report of the Special Rapporteur on the Situation of
Human Rights in the Islamic Republic of Iran, Javaid Rehman


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         solitary confinement in an attempt to force a confession, an allegation the
         Government rejected. The main evidence reportedly used against him was a forced
         statement from another individual. The Government claimed that Mr. Salehi had
         confessed and that other evidence had supported the verdict, and that the executions
         of Mr. Afkari and Mr. Salehi complied with domestic law. With regard to
         recommendations made during the State’s third universal periodic review, the
         Government supported 1, partially supported 3, noted 2 and did not support 16
         recommendations on prohibiting torture, and partially supported 2 and did not
         support 38 recommendations on death penalty reduction or elimination
         (A/HRC/43/12/Add.1). 23


For example, the United Nations Human Rights Report (2019) raises concerns regarding the
execution of child offenders in Iran, a clear violation of international law:

         In his March report, the Special Rapporteur on the situation of human rights in the
         Islamic Republic of Iran undertook an in-depth analysis on the execution of child
         offenders in Iran and made a variety of specific recommendations that were
         addressed to the Iranian Parliament and the judiciary on steps that needed to be
         taken to end this practice. This led to enhanced engagement between the Special
         Rapporteur with the Permanent Missions of Iran in Geneva and New York, including
         during discussions regarding the report’s recommendations. In the context of his
         mission to Brussels, in February, the Special Rapporteur reiterated his
         recommendations on abolishing the death penalty for child offenders in Iran. These
         and other outreach efforts that were undertaken with States during the year led nine
         States to intervene at the General Assembly’s Third Committee meeting, in New York,
         in October. A total of 34 States intervened during Iran’s UPR session, in November,
         recommending changes concerning the application of the death penalty, particularly
         in relation to child offenders. NGOs and HRDs strongly supported the
         recommendations of the Special Rapporteur on the situation of human rights in the
         Islamic Republic of Iran in their advocacy on human rights in that country, often


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  Situation of human rights in the Islamic Republic of Iran: report of the Special Rapporteur on the Situation of
Human Rights in the Islamic Republic of Iran, Javaid Rehman


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       referring to his reports and recommendations when speaking out on issues
       concerning child offender executions, the death penalty and minority rights.


In his book titled “Human Rights in Iran”, Professor Reza Afshari provides a comprehensive
investigation of human rights conditions in Iran. Afshari’s book is focused on the abuse of
cultural relativism and to this end, he examines the human rights conditions in Iran in light of the
IRI’s claimed cultural exception to the universality of human rights. This is an important aspect
that clarifies how the IRI regime uses the Islamic law and culture to justify its violations of
human rights.


After examining UN reports and volumes of memories of prisoners, Afshari reviews the human
rights violations in Iran during the 1980s and 1990s (the book was originally published in 2001,
and published in 2011 with the addition of an afterword which cover).


In the following section, I highlight, and provide in-depth discussion on, several violations of
human rights in Iran that I believe are directly related to the case of Mr. Pourzand. The
discussions on each of the topics will include examples of cases.



   a. Arbitrary Detentions and Extrajudicial Killings

   Arbitrary and unlawful arrests, especially those which do not provide information to relatives
   of the victims, have been part of the IRI history from the early days of the 1979 Revolution.
   During the first few months of the revolution, many former officials, including the former
   Prime Minister Amir Abbas Hoveyda, and military leaders were detained, hastily tried by the
   Revolutionary Court, charged, and executed. In the case of Hoveyda, he was shot in a
   hallway after one of his trial sessions before any sentence was announced by the court.


   Religious minority groups, and in particular, the Baha’is were also among the victims of the
   regime in its early years. The harassment of Baha’is continues to this date with a range of
   issues from arbitrary detention to denial of the right to education (mainly, Baha’is are barred
   from attending higher education institutions). In a well-known case, on August 21, 1980,


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     nine members of the National Spiritual Assembly of the Bahai faith including Dr. Kambiz
     Sadeghzadeh Milani24 and two other colleagues were abducted during an assembly meeting.
     More than forty years later, their families have still no information on what happened to their
     loved ones. They are all believed to have been executed but their bodies were never handed
     over to their families and no entities have taken responsibility. The families are unaware of
     their burial sites.


     In the 1980s, arbitrary detentions and extrajudicial killings continued as a systematic tool for
     the regime to oppress dissent, and re-establish itself within its base of supporters through
     propaganda, and inflict the violent coercion of opposition groups. It is believed that during
     the first decade of establishment of the Islamic Republic, tens of thousands of Iranians were
     arrested, tortured, jailed, disappeared and executed by the security forces, with the oversight
     of the Revolutionary Courts, a relic of the 1979 Islamic Revolution. The 1988 massacre of
     political prisoners is a well-known case in which the Iranian authorities forcibly disappeared
     and extrajudicially executed thousands of imprisoned political dissidents in secret and buried
     their bodies mostly in unmarked mass graves. While the exact number of those killed is
     unknown, minimum estimates put the death toll at around 5,000. In 2018, Amnesty
     International published a detailed report on Iran’s 1988 massacre and framed the unlawful
     disappearances and extrajudicial killings as crimes against humanity:


         Amnesty International’s research leaves the organization in no doubt that, during the
         course of several weeks between late July and early September 1988, thousands of
         political dissidents were systematically subjected to enforced disappearance in
         Iranian detention facilities across the country and extrajudicially executed pursuant
         to an order issued by the Supreme Leader of Iran and implemented across prisons in
         the country. Many of those killed were subjected to torture and other cruel, inhuman
         and degrading treatment or punishment in the process. 25




24
 IranWire, “I hope my father was killed by a firing squad”, https://iranwire.com/en/features/6257.
25
  Amnesty International Blood-Soaked Secrets: Why Iran's 1988 Prison Massacres Are Ongoing Crimes Against
Humanity, December 4, 2018.


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       This trend continued well into the early 1990s with many cases of extrajudicial killings inside
       Iran as well as including the killings of many prominent members of the opposition groups
       abroad including Shahpour Bakhtiar (the last Prime Minister of Pahlavi), Abdolrahman
       Boroumand, and Shahriar Shafigh in France, Fereydoun Farokhzad (artist and political
       activist), and several Kurdish political activists and dissidents26 in Germany.


       In the 1990’s, in a series of abductions, arbitrary detentions, and extrajudicial killings
       resulted in the killing of a large number of political and social activists, writers and poets,
       These killing, as they are popularly named the Chain Murders, include many well-known
       names including Ali-Akbar Sa'idi Sirjani, Dariush Forouhar and Parvaneh Eskandari
       Forouhar, Mohammad Mokhtari, Mohammad-Ja'far Pouyandeh, among others.


       One of the most recent cases of abduction and extrajudicial killing is the case of Ruhollah
       Zam, an Iranian activist and journalist (and French resident,) who was abducted in Iraq,
       extradited to Iran, and unlawfully held in detention in Iran. His trial and eventual execution
       in December of 2020 follow the same familiar pattern of unlawful detentions, and violation
       of access to counsel and a fair trial27.


       The IRI regime also practices the arbitrary and unlawful detention of foreigners and dual
       nationals, often as part of its hostage diplomacy strategy. Karim Sadjadpour, a prominent
       Iranian-American and Iran specialist with the Carnegie Endowment for International Peace
       articulates this best:


           “Iran has been using hostage-taking as a tool of statecraft for four decades now. The
           Revolutionary Guards are blatant about it and believe it delivers results,” said Karim
           Sadjadpour, a senior fellow with the Middle East program at the Carnegie
           Endowment for International Peace. “Among the tragedies of modern Iran is a




26
     The New York Times, Berlin Court Says Top Iran Leaders Ordered Killings, by Alan Cowell, April 11, 1997.
27
     BBC: “Ruhollah Zam: Iran executes journalist accused of fanning unrest”. Published on December 12, 2020.


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        society that is famous for its hospitality to foreigners, and a regime which views them
        as potential assets to be traded.”28



     The U.N. Working Group on Arbitrary Detention29 addressed the case of Mr. Pourzand. In a
     communication on February 14, 2002 (adopted on May 9, 2003), the U.N. Working Group
     on Arbitrary Detention expressed its dismay of the process by which Mr. Pourzand was
     detained, tried, and sentenced:


        “The Working Group deplores the fact that the Government has failed to provide it
        with the text of the penal legislation applicable in the case against Mr. Pourzand,
        despite having been requested to do so by the Chairman-Rapporteur in his letter of 14
        February 2002. Nor was the judgement of 13 April 2002 of the General Court of
        Teheran convicting Syamak Pourzand submitted. The Working Group notes that the
        text of the criminal law provisions - which was not produced, and only referred to by
        the Government in very general terms - was the basis for the conviction of Mr.
        Pourzand. The reference to “propaganda against the Islamic Republic of Iran” gives
        rise to serious doubts about the real nature of and the motivation for the charges
        brought against him. It should be borne in mind that, according to information
        available to the Working Group, Mr. Pourzand, a journalist and manager of the
        Teheran Cultural Centre, has the reputation of being critical of the Government.


        Therefore, in the absence of any argument to the contrary submitted by the
        Government, the Working Group cannot but conclude that Mr. Pourzand was
        prosecuted, convicted and sentenced to a prison term because of his convictions and
        the expression of his opinions.”30


     Subsequently, the report expresses the opinion of the Working Group as:



28
   New York Times, Iran Frees British-Australian Scholar in Prisoner Swap, by Farnaz Fassihi, November 25, 2020.
29
    Opinions adopted by the Working Group on Arbitrary Detention (U.N.), E/CN.4/2004/3/Add.1 26 November
2003
30
   Ibid.


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        “The detention of Syamak Pourzand, being in contravention of article 19 of the
        Universal Declaration of Human Rights and of article 19 of the International
        Covenant on Civil and Political Rights, is arbitrary and falls within category II of the
        categories applicable to the consideration of cases submitted to the Working Group.”


        “Consequent upon this opinion, the Working Group requests the Government of the
        Islamic Republic of Iran to take the necessary steps to remedy the situation of Syamak
        Pourzand in order to bring it into conformity with the provisions and principles
        incorporated in the Universal Declaration of Human Rights and the International
        Covenant on Civil and Political Rights, to which the Islamic Republic of Iran is a
        party. ”31


     In addition to confirming his arbitrary detention by Iran, numerous institutions hold Iran
     responsible for Mr. Pourzand’s death. In 2011, Amnesty International published an article
     entitled, Siamak Pourzand: Persecuted to death, harassed after death, by its then-researcher
     on Iran Mr. Drewery Dyke. In the article, Mr. Dyke wrote,

        “Unfair justice systems… purposefully wear [prisoners] down, and by delaying and
        denying medical care, they hasten their death. […] In truth, [Mr. Pourzand] was killed by
        the repeated human rights violations he endured, which lead to chronic ill health, at the
        hands of a judicial system in which human dignity had been lost.”32

     Further, Reporters Without Borders, which documented and reported on Mr. Pourzand’s case
     from his initial detention until his death, stated in response to the news of his death, “We
     hold the Iranian authorities responsible for this gesture of despair.”33




31
   Ibid.
32
   Amnesty International, Siamak Pourzand: Persecuted to death, harassed after death. May, 6, 2011.
33
   Reporters Without Borders, Iranian authorities responsible for Siamak Pourzand’s death. May 2, 2011 (Updated
Jan. 20, 2016).


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b. Irregularities and Systematic Issues in Due Process of Law

Irregularities and systematic issues in due process of law are well-known and well
documented issues in the IRI. There are many examples of these cases over more than four
decades of the history of the IRI including the mass executions of thousands of political
prisoners in the 1980’s, executions of child offenders, extrajudicial killings of intellectuals,
political activists, writers and poets in the 1990s, torture and forced confessions of hundreds
of protestors of contested presidential election in 2009, torture and execution of protesters in
2018 and 2019, among many other examples.


Typically, in cases of dissidents, intellectuals, and prominent personalities such as Mr.
Pourzand’s, the pattern observed is based on a problematic chain of events and processes.
Often, the victims are prone to extrajudicial and unlawful detentions during which families of
the victims are unaware of their whereabouts. During the arbitrary detention, victims are
tortured and coerced into forced confessions which are then used by the intelligence
apparatus to build a case against the victims. In cases of prominent and well-known
personalities (such as Mr. Pourzand), this process may include highly publicized confessions
(often the victims’ confessions are televised and/or published through other media outlets).
During this process, victims often either do not have access to an attorney or do not have
access to an attorney of their choice.


c. Torture

In his book, Afshari reviews the systematic use of torture in Iran’s prisons and by the
interrogators to force prisoners to provide untrue confessions against themselves as well as
others. To this end, Afshari reviews the scope and intensity of physical and psychological
torture methods as documented in prison memoirs as well as several prominent cases. Afshari
describes the issue of torture in Iranian prisons while formally prohibited by law:
   “Article 38 of the Constitution proudly prohibited torture in the Islamic Republic of
   Iran, but the regime’s interrogators cavalierly resorted to the most familiar forms of
   torture, mainly for the purpose of extracting confessions. Prison wardens also
   continued inflicting pain on the captives for disciplinary punishment—or just out of



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        sadism. Islamic punishments like flogging and amputation of limbs and fingers
        revived ancient forms of torture and gave them judicial standings within the nation-
        state.”


     The human rights community have constantly raised concerns about the Iranian regime’s use
     of torture. For example, the most recent report by Human Rights Watch on Iran (as part of
     the World Report 202134) describes the continuation of patterns of lack of free trials, forced
     confessions, and torture by the IRI:

        “Iranian courts, and particularly revolutionary courts, regularly fall far short of
        providing fair trials and use confessions likely obtained under torture as evidence in
        court. Authorities have failed to meaningfully investigate numerous allegations of
        torture against detainees. Authorities routinely restrict detainees’ access to legal
        counsel, particularly during the initial investigation period.”


     The case of Zahra Kazemi35 is a well-known case of use of torture and deadly force during
     interrogations in the regime’s prisons. Zahra Kazemi,36 an Iranian-Canadian journalist, was
     arbitrarily arrested for photographing outside the Evin prison. She was tortured in detention
     which led to her death due to head injuries, as reported by the medical examiner when in
     2003 then-President Khatami initiated a ministerial inquiry into the circumstances
     surrounding Kazemi's death in response to international pressure37.

     In his book, “Prisoner: My 544 Days in an Iranian Prison,” Jason Rezaian, the former
     correspondent of The Washington Post in Iran described the ordeal he and his family went
     through during his 544 days in the Evin prison. Rezaian writes that while his captors did not
     physically torture him, he was mentally tortured as they held him in solitary confinement
     with a light that never turned off and threatened to cut off his arms and legs.38 In an interview

34
   Human Rights Watch World Report 2021: Iran events of 2020
35
   Reporters Without Borders, Impunity continues seven years after Zahra Kazemi’s death in detention. July 11,
2010 (Updated January 20, 2016)
36
   New York Times, Iran admits that journalist was murdered while detained. by the Associated Press, July 31, 2003.
37
   The Guardian, Killer Images, by Andréa Schmidt, November 18, 2005.
38
   The New York Times, Jason Rezaian Recounts His 544 Days of Captivity in Iran, By Michael J. Totten
January 14, 2019


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      with National Public Radio’s Terry Gross, Jason Rezaian elaborates on the torture he went
      through at the hands of his captors at Evin prison and the long-term impact of the experience
      he went through on his life:


           Solitary confinement is torture. Putting somebody on a sham trial, compelling them to
           confess to things that they didn't do, depriving them of sleep — these are all signs of
           torture.


           Was I physically attacked, violently abused in a physical way? No. There is a level of
           stress that one cannot comprehend if they haven't been put through this sort of
           situation. Solitary confinement in a confined space that's very small and impossible to
           move around in — and you have no say over when the door opens — is one of the
           worst things that you can do to a human being.


           I still have a problem in those kinds of moments and situations where I'm locked in a
           room or locked out of a room. It's going to linger with me forever. It was a fear that
           was built into me throughout that time, even when I came out of solitary. You're
           always worried about going back into it. I also had a range of infections in my body,
           in my eyes, in more private parts of my body, and these things were not addressed for
           many months — and then addressed in the most perfunctory ways. I came out
           physically not the same person I walked in as, and I'm not sure I ever will be that
           person again.39


      In his documentary “In the Interrogation Room”, Vahid Pourostad through interviews with
      several former prisoners, portrays the scope and the extent of torture techniques used by
      interrogators in Iranian prisons, including both physical and psychological torture to extract
      forced confessions. The interviews entail striking accounts of torture including forcing the
      prisoners to eat human feces/urine, forcing prisoners to admit to having sexual relationships,
      hitting the body with electric shock, among others. The documentary also includes footage


39
     Journalist Recounts the Absurdity and Torture Of 544 Days in Iran's Evin Prison, January 22, 2019



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       leaked from the Ministry of Intelligence, where agents interrogate and physically attack the
       wife of a former intelligence officer (Saeed Emami) who was allegedly involve in a series of
       murders of intellectuals (the Chain Murders).


       d. Forced Confessions

       Iranian security forces and interrogators often use intimidation, ill-treatment and torture to
       force individuals to appear on televised programs and “confess” to crimes dictated to them by
       their interrogators, to speak against themselves and others, to “repent,” and to ask for the
       forgiveness of the Supreme Leader. Prisoners provide these false and incriminating
       confessions under the pretense of promises of leniency by the interrogators to reduce their
       charges or end their imprisonment, or in some cases in order to protect their family and
       associates from threats of harmful actions against them by the security forces. For example,
       in the case of Ahmadreza Djalali, an Iranian-Swedish academic and medical doctor who was
       sentenced to death for “corruption on earth” (efsad-e fel-arz) in October 2017 after a grossly
       unfair trial before Branch 15 of the Revolutionary Court in Tehran, the court relied primarily
       on “confessions” that were obtained under torture and other ill-treatment including threats to
       execute him, kill or otherwise harm his children, who live in Sweden, and his mother, who
       lives in Iran. These confessions were extracted while Djalali was held in prolonged solitary
       confinement without access to a lawyer.40



       A recent report by two organizations the International Federation for Human Rights (FIDH)
       and Justice for Iran released on the occasion of the International Day in Support of Victims
       of Torture, June 26, highlights and provides an in-depth look at the phenomenon of forced
       confessions in Iran:

           Between 2009 and 2019, Iranian state-owned media broadcast the forced confessions
           of at least 355 individuals and defamatory content against at least 505 individuals,




40
     Amnesty International Urgent Action 38.17, January 13, 2021.


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        according to a new report published today by FIDH and its member organization
        Justice for Iran (JFI).41



     In July 2002, Siamak Pourzand under torture was forced to provide confessions in a televised
     session:


        IRAN: TV DISPLAYS A DISSIDENT'S CONFESSION State television broadcast what
        it called confessions of espionage by a liberal dissident jailed serving an 11-year jail
        sentence for trying to undermine the Islamic Republic. The dissident, Siamak
        Pourzand, was arrested last year and convicted of having ties to opposition groups in
        the United States, trying to spread corruption and poisoning the minds of young
        people. Mr. Pourzand, 73, appeared frail but animated during an interview with
        journalists from state media. Human Rights Watch has called Mr. Pourzand's trial "a
        continuation of a pattern of repression against reformist and independent figures."42


     In 2012, Maziar Bahari the former Iran correspondent for Newsweek in Iran who was
     arrested and imprisoned in Iran after the 2009 protests made a documentary film on the topic
     of forced confessions43. Bahari was interrogated, tortured and he was forced to provide false
     confessions. The documentary reveals details of the organized torture and forced confessions
     with focus on the case of six prominent former prisoners including Siamak Pourzand.
     Through interviews with some of the former prisoners or their families (in case of Mr.
     Pourzand, his wife Ms. Kar and her daughter Lily Pourzand were interviewed) the film
     explores the plethora of brutal torture techniques that victims had undergone and resulted in
     providing forced confessions based on pre-written scenarios by their interrogators.



     e. Harassment of Victims and Their Relatives



41
   Orwellian State: The Islamic Republic of Iran’s State Media as a Weapon of Mass Suppression, FIDH and Justice
for Iran (June 25, 2020)
42
   The New York Times. World Briefing: Middle East. July 26, 2002
43
   Forced Confessions a documentary by Maziar Bahari (2012)


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     IRI has a track record for the harassment of victims and their families prior to, during, and
     after imprisonment. For instance, security forces continue to harass the families and intervene
     in memorial events for the victims of the Chain Murders of Iran. Parastou Forouhar, a
     prominent Iranian-German artist and daughter of Dariush Forouhar and Parvaneh Eskandari
     Forouhar, and her family were banned from holding memorials for several years44. Families
     of other victims of the Chain Murders have been going through similar experiences including
     the family of another victim of the Chain Murders, the poet Mohammad Mokhtari45


     In one case, in 2003, Sina Motallebi, a journalist and blogger, was arrested on the charges of
     “undermining national security through cultural activities”. The charges were related to his
     weblog rooznegar.com where on several occasions he had raised awareness regarding the
     cases of imprisoned journalists, featured his interviews with the foreign media, and published
     a cartoon that the authorities found offensive46. He was freed after several months in prison
     and sought asylum in The Netherlands. In response, the judiciary arrested his father, Saeed
     Motallebi, a well-known film director and screenplay writer, for 10 days despite the fact that
     Sina had left Iran legally in order to pressure Sina and in retribution to his critical public
     statements on blogging regulations in Iran and details of his prior interrogations47.
     Mohammad Ali Abtahi, a Vice President to President Khatami, condemned the arrest and
     labeled it as part of a disturbing trend of “family arrests”. Abtahi himself was arrested in
     2009 during the contested presidential election in Iran and ,along with several other
     prominent former officials, provided forced confessions48.


     Another well-known case is the case of an Iranian-Canadian sociology professor and
     environmentalist, Kavous Seyed-Emami who was arrested in January 2018 (among a team of
     conservation environmentalists) on fabricated charges of “spying for the enemy” through the
     environmental monitoring and endangered species preservation projects he and his team were


44
   Qantara, Iranian Society in Shock, December 9, 2019.
45
   RadioFarda, Mohammad Mokhtari’s Son Recalls the Murder of His Father in 1988, December 24, 2020.
46
   Iranian journalist faces manslaughter charge. May 9, 2003.
47
   Bucar, E., & Fazaeli, R. (2008). Free Speech in Weblogistan? The Offline Consequences of Online
Communication. International Journal of Middle East Studies, 40(3), 403-419.
48
   The New York Times: “Iran Broadcasts Confessions by 2 Opposition Figures on Trial” by Robert F.
Worth and Nazila Fathi. August 2, 2009.


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     running in Iran through his organization the Persian Wildlife Heritage Foundation. Seyed-
     Emami was found dead in Evin prison a few weeks after his arrest. Iranian authorities
     announced his death as a suicide, a claim his family and friends have publicly and strongly
     challenged 49. His family, and in particular, his wife Maryam Mombeini, suffered
     tremendously during this ordeal50. Authorities detained Maryam, an Iranian-Canadian citizen,
     and confiscated her passport as she tried to leave Iran with her sons in March 2018. She was
     not allowed to leave Iran for 582 days:


        “…Mombeini was briefly detained by Iranian officials before being returned to
        Tehran. Her sons said she relied on family and friends for financial support over the
        following 18 months, as authorities in Iran had long since seized the deeds to the
        family home and the other assets.


        Ramin and Mehran fought to bring their mother to Canada in the months after their
        arrival, imploring Justin Trudeau's government to intervene in the case and
        investigate their father's death. Ramin, Mehran and Mombeini had all previously
        lived in Vancouver and Toronto.”51

     Maryam was finally allowed to leave Iran and join her sons in Vancouver, Canada on
     October 11, 2019. Seyed-Emami’s team members including a dual national (Iranian-
     American) Morad Tahbaz, remain imprisoned to this date.


     Another case of harassment of family members involves Shirin Ebadi, an Iranian political
     activist, lawyer, a former judge and human rights activist, and the 2003 Nobel Peace laureate.
     Ebadi was constantly harassed by the Iranian regime due to her internationally recognized
     legal and human rights work and finally left Iran in 2009. In 2016, in an article in The New
     York Times52, Ebadi revealed the ordeal she went through in her personal life when her
     husband Javad Tavassolian was tricked into cheating and videotaped by security agents. He

49
   BBC, Kavous Seyed-Emami: Iran Environmentalists’ Death Was Suicide, Iran Says. February 11, 2018.
50
   The New York Times, Iran finally let her see her husband. He was dead by Thomas Erdbrink, February 22, 2018.
51
   CBC, After 582 days, woman detained in Iran after husband's death reunites with sons in Vancouver, by
Rianna Schmunk, October 11, 2019.
52
   The New York Times, Tricked Into Cheating and Sentenced to Death, by Shirin Ebadi, March 3, 2016.


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     was arrested, flogged for having consumed alcohol, and was sentenced to death by stoning
     for committing adultery. In order to gain his freedom, the security agents forced Tavassolian
     to denounce his wife as a Western agent in a video message53.


     The Iranian regime constantly uses family members, including children, as pawns to force
     prisoners into accepting fabricated charges, agreeing to provide confessions, or simply as a
     means of psychological torture. For example, Narges Mohammadi, a prominent human rights
     activist, was deprived of seeing her twin son and daughter for many years54. In 2015, in a
     letter from prison55, Narges wrote about the pain and suffering she and her family went
     through.


     Mahdieh Golrou, a prominent activist, and a number of other protesters on October 25, 2014
     several days after participating in a demonstration against the acid attacks on women in
     Isfahan arrested by Iranian authorities. In order to pressure Golrou to cooperate with the
     intelligence agents, they arrested her husband Vahid La’alipour although he was not
     politically active. Agents arrested La’alipour several times before a court eventually
     sentenced him to a year in prison.56


     In a recent case related to the prominent human rights lawyer, Nasrin Sotoudeh, her daughter
     Mehraveh Khandan was arrested, tried, and charged on bogus charges. She was subsequently
     released on bail. Sotoudeh’s family is believed to be targeted and harassed to intimidate her
     and to force the family into silence. In addition to the arrest of her daughter, the family’s
     bank account was also blocked57. The Center for Human Rights in Iran articulates the pattern
     of targeting and harassment of prisoners and their families:




53
   Radio Free Europe/Radio Liberty, Ebadi: Iranian Agents Tricked Her Husband Into Cheating. March 3, 2016.
54
   Center for Human Rights in Iran, Political Prisoner Narges Mohammadi Has Been Separated from Her Children
for Five Years and Counting, October 15, 2019.
55
   Amnesty International, “Tearing My Heart to Pieces”—A Mother’s Story from Prison in Iran, by Narges
Mohammadi, August 4, 2015.
56 IranWire, Call for Release of Acid Attack Activist, by Parvaneh Masoumi, January 21, 2015.
57
   Center for human Rights in Iran, Judiciary Blocks Nasrin Sotoudeh’s Bank Account, Cutting Off Funds for
Family, July 28, 2020.


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        “The harassment of the family members of political prisoners, activists and other
        human rights defenders, as well as the those of journalists and dissidents who are
        based abroad, is a longstanding policy of the authorities in Iran.


        Threats and other forms of intimidation, as well as prosecutions on manufactured
        charges are among the tactics, along with explicit warnings for family members not
        to speak to the media.”58


     This is also well documented by other organizations59.


     Clearly, Siamak Pourzand’s family was not an exception to the described patterns of
     harassment and targeting. In reviewing the patterns of harassment of families, one can easily
     recognize similarities between the case of Mr. Pourzand with many of the other cases
     described above. In fact, given Mehrangiz Kar’s activities as a lawyer and human rights
     activist, it is clear that Siamak Pourzand was targeted and harassed at least partially due to
     the regime’s issues with Ms. Kar. Regardless, the family and, in particular, Mr. Pourzand and
     Ms. Kar’s children, were doubly impacted in this process.


     As Mehrangiz Kar, mentioned to The Boston Globe60 in 2006, she went through an ordeal of
     going through breast cancer treatment and struggled to keep her family together:


        “After bringing her younger daughter, Azadeh Pourzand, now 21, to Maryland, Kar
        had hoped to return to Iran. But after her husband's arrest, she decided she could be
        of more use publicizing his predicament outside the country.


        Now Kar struggles to keep together a family in four parts of the world. She worries
        about her husband, who since she left the country has been arrested twice, fallen into
        a coma, had a heart attack, and suffered a spinal condition that left him barely able

58
   Center for human Rights in Iran, Sotoudeh’s Daughter Defends Herself in Court against Bogus Charges, October
27, 2020.
59
   Human Rights Watch, Iran: Activists’ Families Facing Harassment, August 9, 2018.
60
   Boston Globe: “I would like to die in my country” by Vanessa E. Jones. Published on March 21, 2006


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             to walk. Her eldest daughter, Lily Pourzand, 31, moved to Canada in 1999 after
             getting her law degree in Iran because she knew that a person from a political family
             like hers could never pass the country's bar exam.”61


       As a teenager, Azadeh Pourzand suffered through the trauma of her mother's imprisonment
       followed by the ordeal of her father's disappearance.


      V. Summary of Conclusions
My report is focused on identifying and highlighting the patterns of unlawful detention, torture,
forced confessions, and extrajudicial killings as well as systematic issues of due process of law
by the IRI. As it relates to Mr. Pourzand’s case, I have summarized the following:


       •     Unlawful detentions, due process issues, and the denial of victims to a fair trial are
             commonly observed in the cases of Iranian dissidents. Based on documents reported by
             human rights organizations and news media, Mr. Pourzand’s case follows these patterns.


       •     Torture and forced confessions are commonly practiced by the IRI intelligence apparatus
             to produce “evidence” against the victims. The IRI judiciary system has been generally
             receptible of evidences produced through these illegal practices and continues to issue
             charges on the basis of victims’ confessions under torture albeit serious concerns raised
             by current and former victims, legal experts and practitioners, and the human rights
             community. Mr. Pourzand is among the well-known and well-documented cases of
             forced confessions obtained under torture and coercion.

       •     Studying this case leaves little doubt for me that Mr. Pourzand suffered through an
             almost 10-year long ordeal and was victim to physical and emotional torture. Mr.
             Pourzand was victim of brutal physical torture while he was kept in different detention
             facilities, and when he was under house arrest. Mr. Pourzand’s family (including the
             Plaintiffs) suffered through this ordeal and were victims to emotional and economic
             abuse.

61
     Ibid.


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   •   Mr. Pourzand’s death is directly related and caused by the acts of the government of Iran.


My review of Mr. Pourzand’s case identifies familiar patterns of violation of rights by the IRI;
arbitrary detention, forced confession, emotional and physical torture, pressure on the family,
lack of due process of law and access to lawyer of choice and a free trial.


As a scholar and an activist familiar with human rights matters, and in particular, human rights
violations in Iran, I can confidently attest to the severity of the ordeal and the injustice suffered
by Mr. Pourzand and his family, and in particular, the Plaintiffs Ms. Mehrangiz Kar and Ms.
Azadeh Pourzand.


I reserve the right to modify or add to these opinions to address new information and documents
that may come to light during these proceedings.


I have provided my report on a pro bono basis.




Ali Arab, Ph.D.
March 7, 2021




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Appendix A: CV Report


                            [INSERT CV HERE]




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